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 8
 9                         UNITED STATES DISTRICT COURT
10                       SOUTHERN DISTRICT OF CALIFORNIA
11
      SHANNON NANGLE and TIMOTHY                         Case No. 11-CV-00807 CAB (BLM)
12    MYERS, on behalf of herself and all
      others similarly                                   NOTICE OF MOTION AND
13
      situated,                                          MOTION FOR ORDER GRANTING
14                                                       (1) FINAL APPROVAL OF CLASS
15                        Plaintiff,                     ACTION SETTLEMENT AND
                                                         ENTERING JUDGMENT; AND (2)
16                 vs.                                   AWARD OF ATTORNEYS’ FEES,
17                                                       COSTS, AND CLASS
      PENSKE LOGISTICS, LLC, a Delaware                  REPRESENTATIVE
18    corporation, and DOES 1 through 100,               ENHANCEMENT AWARDS
19    inclusive,
                       Defendants.                        Judge: The Hon. Cathy Ann Bencivengo
20                                                        Dept: Courtroom 4C
                                                          Date: May 22, 2017
21                                                        Time: 10:00 a.m.
22
                                                         Complaint Filed: February 28, 2011
23                                                       Trial date:      None set
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         Notice of Motion and Motion for an Order Granting Final Approval of Class Action Settlement
                                    Case No. 11-CV-00807 CAB (BLM)
     Case 3:11-cv-00807-CAB-BLM Document 91 Filed 05/01/17 PageID.2036 Page 2 of 3




 1 TO:      ALL INTERESTED PARTIES AND TO THEIR ATTORNEYS OF
 2 RECORD:
 3         NOTICE IS HEREBY GIVEN that on May 22, 2017, at 10:00 a.m., before the
 4 Honorable Cathy Ann Bencivengo in Courtroom 4C of the United States District Court –
 5 Southern District of California, located at 221 West Broadway, 4th Floor, San Diego,
 6 California 92101, Plaintiffs SHANNON NANGLE and TIMOTHY MYERS, on behalf
 7 of themselves and all others similarly situated, will, and hereby do, move this Court for
 8 an Order which has the effect of doing the following:
 9         1)      Granting Final Approval of Class Action Settlement and Entering
10 Judgment thereon;
11         2)      Awarding Class Counsel attorneys’ fees in the sum of up to $125,000 and
12 reimbursement of their litigation costs in the amount of $13,292.07;
13         3)      Approving Class Representative Enhancement Awards of $10,000 to each
14 of the Plaintiffs, SHANNON NANGLE and TIMOTHY MYERS;
15         4)      Approving payment to the California Labor Workforce and Development
16 Agency of $7,500, as its share of the settlement for civil penalties; and
17         5)      Approving payment of the fees and costs of the appointed Settlement
18 Administrator, CPT Group, Inc., of $15,000 for services rendered and to be rendered in
19 connection with the completion of its administrative duties pursuant to the Settlement.
20         This Motion is based upon this Notice of Motion and Motion, the attached
21 Memorandum of Points and Authorities, the Declaration of Class Counsel J. Jason Hill,
22 the Declaration of Tim Cunningham on behalf of CPT Group, Inc., Declarations of
23 Plaintiffs Shannon Deponceau (formerly Nangle) and Timothy Myers, the Motion for
24 Order Granting Preliminary Approval of Class Action Settlement, [Doc. No. 88], the
25 fully-executed Settlement Agreement [Doc. No. 90], the Order Preliminarily
26 Approving Class Settlement [Doc. No. 89] and such other records and files in this class
27 ///
28 ///
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         Notice of Motion and Motion for an Order Granting Final Approval of Class Action Settlement
                                    Case No. 11-CV-00807 CAB (BLM)
     Case 3:11-cv-00807-CAB-BLM Document 91 Filed 05/01/17 PageID.2037 Page 3 of 3




 1 action litigation, and such other matters as may be properly presented at or before the
 2 hearing.
 3                                              Respectfully submitted,
 4    Dated: May 1, 2017                        COHELAN KHOURY & SINGER
 5
 6                                        By:       s/ J. Jason Hill
 7                                                     J. Jason Hill
                                                Attorney for Plaintiffs’ SHANNON NANGLE
 8                                              and TIMOTHY MYERS
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         Notice of Motion and Motion for an Order Granting Final Approval of Class Action Settlement
                                    Case No. 11-CV-00807 CAB (BLM)
